         Case 1:21-cv-00306-RCL Document 22 Filed 05/12/21 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                               :
 OSCAR D. TORRES, on behalf of himself and all :
 others similarly situated,                    :
                                               :
                         Plaintiff,            :
                                               :
         v.                                    :             Case No. 1:21-cv-306-RCL
                                               :
 THOMAS W. HARKER, UNITED STATES               :
 SECRETARY OF THE NAVY (ACTING),               :
 UNITED STATES OF AMERICA, in his official :
 capacity,                                     :
                                               :
                         Defendant.            :
                                               :

                        JOINT PROPOSED BRIEFING SCHEDULE

         Pursuant to the Court’s Order, Plaintiff Oscar D. Torres (“Plaintiff”) and Defendant

Acting Secretary Thomas Harker (“Defendant”) hereby submit this joint report proposing the

below schedule for briefing dispositive motions and for filing the administrative record:

                      Event                               Proposed Deadline
 Deadline to file the administrative record                  May 21, 2021
 Deadline for Plaintiff to file motion for 45 days after Court rules on Plaintiff’s motion
 summary judgment.                                       for class certification
 Deadline for Defendant’s opposition to         30 days after the deadline for Plaintiff’s
 Plaintiff’s motion for summary judgment, and       motion for summary judgment.
 cross-motion for summary judgment.
 Deadline for Plaintiff’s reply in support of 14 days after the deadline for Defendant’s
 motion for summary judgment, and opposition opposition to Plaintiff’s motion for summary
 to Defendant’s cross-motion for summary       judgment and cross-motion for summary
 judgment.                                                      judgment.
 Deadline for Defendant’s reply in support of   14 days after the deadline for Plaintiff’s
 cross-motion for summary judgment.           opposition to Defendant’s cross-motion for
                                                          summary judgment.




       Respectfully submitted,
        Case 1:21-cv-00306-RCL Document 22 Filed 05/12/21 Page 2 of 3




      DATED this 12th day of May 2021.

___s/ Barak Cohen ____________________
Barak Cohen (DC Bar No. 248945)                    ___s/ Barton Stichman________________
Donald J. Friedman (DC Bar No. 413701)             Barton Stichman (DC Bar No. 218834)
Perkins Coie LLP                                   David Sonenshine (DC Bar No. 496138
700 Thirteenth Street, N.W., Suite 800             Rochelle Bobroff (DC Bar No. 420892)
Washington, D.C. 20005-3960                        Esther Leibfarth
Phone: 202.654.6200                                National Veterans Legal Services Program
Fax:    202.654.6211                               1600 K Street, N.W. Suite 500
BCohen@perkinscoie.com                             Washington, DC 20006-2833
DFriedman@perkinscoie.com                          Phone: 202.265.8305
                                                   Facsimile: 202.223.9199
David P. Chiappetta (DC Bar No. 474748)            Bart@nvlsp.org
Maria A. Nugent                                    David@nvlsp.org
Perkins Coie LLP                                   Rochelle@nvlsp.org
505 Howard Street, Suite 1000                      Esther@nvlsp.org
San Francisco, CA 94105-3204
Phone: 415.344.7000
Fax: 415.344.7050
DChiappetta@perkinscoie.com
MNugent@perkinscoie.com

Geoffrey A. Vance
Perkins Coie LLP
131 South Dearborn Street, Suite 1700
Chicago, IL 60603-5559
Phone: 312.324.8400
Fax:    312.324.9400
GVance@perkinscoie.com

Thomas J. Tobin (DC Bar No. 1049101)
Perkins Coie LLP
1201 Third Avenue, Suite 4900
Seattle, WA 98101-3099
Phone: 206.359.8000
Fax:     206.359.9000
TTobin@perkinscoie.com


                                Attorneys for Plaintiff Oscar Torres




                                             2
Case 1:21-cv-00306-RCL Document 22 Filed 05/12/21 Page 3 of 3




                                     BRIAN M. BOYNTON
                                     Acting Assistant Attorney General

                                     CHANNING D. PHILLIPS
                                     Acting United States Attorney

                                     ANTHONY J. COPPOLINO
                                     Deputy Directory, Federal Programs Branch

                                     JOSHUA E. GARDNER
                                     Special Counsel, Federal Programs Branch

                                     ___s/ Andrew E. Carmichael_____________
                                     ANDREW E. CARMICHAEL
                                     Senior Trial Counsel
                                     Stephen Ehrlich
                                     Trial Attorney
                                     United States Department of Justice
                                     Civil Division, Federal Programs Branch
                                     1100 L St. NW
                                     Washington, DC 20005
                                     Telephone: (202) 514-3346
                                     Email: andrew.e.carmichael@usdoj.gov

                   Attorneys for Defendant




                               3
